Case 3:24-cv-01865-RDM Document 1-1

JS 44 (Rev. 07/16)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Sent

CIVIL COVER SHEET

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

Filed 10/29/24

Page 1 of 2

service of pleadings or other papers as required by Inw, except as
ember TO74, is required for the use of the Clerk of Court for the

I.

(a) PLAINTIFFS

1789 FOUNDATION, INC. d/o/a Citizen AG, and ANTHONY GOLEMBIEWSKI

(b} County of Residence of First Listed Plaintiff

DEFENDANTS

PENNSYLVANIA

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number}

Gregory A. Stapp, Tel: (570) 326-1077
153 West Fourth Street, Suite 6

Williamsport, PA 17701

NOTE:
THE TRACT

Attomeys (if Known)

County of Residence of First Listed Defendant

AL SCHMIDT, in his official capacity as Secretary of State for the
Commonwealth of Pennsylvania and COMMONWEALTH OF

UN U.S, PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

TIN LAND CONDEMNATION CASES, USE THE LOCATION OF

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

(Far Diversity Cases Ouly}

Jil. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Bax for Defendant}

Ol US. Government 43° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State al 1 Incorporated or Principal Place ao4 04
of Business In This State
42° U.S. Government 0 4 Diversity Citizen of Another State o 2 © 2 = Incorporated and Principal Place G95 95
Defendant Ondicate Citizenship of Parties in Ltem [Ti} of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation QO6 a6
Foreign Country
IV. NATURE OF SUIT {Place an "X"' in One Box Only)
[ CONTRACT TORTS FOREFITUREPENALTY BANKEUPICY OTHER STATUTES _
TF 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 0 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine D 310 Airplane OF 365 Personal Injury - of Property 2] USC 881 | 0 423 Withdrawal O 376 Qui Tam {31 USC
1 130 Miller Act C315 Airplane Product Product Liability O 690 Other 28 USC 157 3725(a))
1 140 Negotiable Instrument Liability 4) 367 Health Care/ © 400 State Reapportionment
O 150 Recovery of Overpayment |O 320 Assault, Libel & Pharmaceutical = © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights ( 430 Banks and Banking
O 151 Medicare Act O 330 Federal Employers” Product Liability 0 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestas Personal 840 Trademark O 460 Deportation
Student Loans O 340 Marine Injury Product O 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability AB SONAL. (RTE Corrupt Organizations
(0 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards O 861] HIA (1395ff) OV 480 Consumer Credit
of Veteran's Benefits O 350 Motor Vehicle O 370 Other Fraud Act O #862 Black Lung (923) O 490 Cable/Sat TV
G 160 Stockholders* Suits G 355 Motor Vehicle O 371 Troth in Lending O 720 Labor/Management O 863 DIWC/DIWW (405(g))_ | O 856 Securities‘Commadities/
J 190 Other Contract Product Liability O} 380 Other Personal Relations O 864 SSID Title XVI Exchange
7 195 Conmact Product Liability | 0 360 Other Personal Property Damage 0 740 Railway Labor Act O 865 RS] (405(g)) O 890 Other Statutory Actions
1 196 Franchise Injury 0 385 Property Damage 0 751 Family and Medical O 891 Agricultural Acts
© 362 Personal Injury - Product Liability Leave Act OF 893 Environmental Matters
Medical Maipractice O 790 Other Labor Litigation OF 895 Freedom of Information
E REAL PROPERTY CIVIL RUSHTS FREISON?R FEI rr Pons |) 791 Employee Retirement FEDERAL TAX SUITS Act
O 210 Land Condemnatien 1 440 Other Civil Rights Habeas Corpus: Income Security Act 3 870 Taxes (U.S. Plaintiff O 896 Arbitration
O 2206 Foreclosure &% 441 Voting O 463 Alsen Detainee or Defendant) OF 899 Administrative Procedure
O 230 Rent Lease & Ejectment G 442 Employment O 310 Motions to Vacate O 871 [RS—Third Party Act/Review or Appeal of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations OG 530 General OF 950 Constitutienality of
O 290 All Other Reai Property 0 445 Amer. w/Disabilities -] 5345 Death Penalty TVEMIGRA THON State Statutes
Employment Other: CO 462 Naturalization Application
C7 446 Amer. w/Disabilities -] 540 Mandamus & Other |0) 465 Other Immigration
Other O 550 Civil Rights Actions
O 448 Education © 555 Prison Condition
1 566 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Piece an “X" in One Box Only)

m1

Original
Proceeding

O12 Removed from
State Court

O 3 Remanded from
Appellate Court

a4

Reinstated or
Reopened
(spectfy)

O 5 Transferred from
Another District

6 Multidistrict
Litigation -
Transfer

O 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

18 U.S.C. § 2721

et seq.

Cite the U.S, Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Driver's

Brief description of cause: .
rivacy and Protection Act

VII. REQUESTED IN O CHECK IF THIS 1S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 250,000.00 JURY DEMAND: WlYes ONo

VOI RELATED CASE(S) see:
IF ANY {See instructions). JUDGE DOCKET ER

DATE SIGNATURE OF ATTORNEY OF RECORD

10/29/2024 is/ GREGORY A, STAPP

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

a

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JS 44 Reverse (Rev. 07/16}

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attomey filing a case should complete the form as follows:

La)

{b)

(c}

il.

TH.

VI.

VIL.

Vid.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and ttle.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)”.

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X”"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below,

United States plaintiff. (1) Jurisdiction based on 28 U_S.C. 1345 and 1348, Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "XX" in this box.

Federal question, (3} This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states, When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section Ii below; NOTE: federal question actions take precedence over diversity
cases.}

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Offtce to determine the nature of suit. Lf the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Wher the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date,

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Muttidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multdistrict Lrigation ~ Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 353 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
uumbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
